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 6                                  UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                          Plaintiff,                 )
                                                       )
10           v.                                        ) 2:12-CR-440-RCJ-(GWF)
                                                       )
11 ARCHIE GRANATA,                                     )
                                                       )
12                          Defendant.                 )
13                               PRELIMINARY ORDER OF FORFEITURE

14           This Court finds that on July 7, 2014, defendant ARCHIE GRANATA pled guilty to Count

15 One of a Three-Count Indictment charging him with Conspiracy to Conduct or Participate in an

16 Enterprise Engaged in a Pattern of Racketeering Activity in violation of Title 18, United States Code,

17 Sections 1029(a), 1343, 1344, 1952(a)(1) and (a)(3), and 1962(c) and (d); Title 21, United States

18 Code, Sections 841(a)(1) and 846; and Nevada Revised Statute 201.354. Indictment, ECF No. 1;

19 Change of Plea, ECF No. 173; Plea Agreement, ECF No. __.

20           This Court finds defendant ARCHIE GRANATA agreed to the forfeiture of the property set

21 forth in the Plea Agreement, the Bill of Particulars, and the Forfeiture Allegation of the Indictment.

22 Indictment, ECF No. 1; Bill of Particulars, ECF No. 92; Change of Plea, ECF No. 173; Plea

23 Agreement, ECF No. __.

24           This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of America

25 has shown the requisite nexus between property set forth in the Plea Agreement, the Bill of Particulars,

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 1 and the Forfeiture Allegation of the Indictment and the offense to which defendant ARCHIE

 2 GRANATA pled guilty.

 3           The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section

 4 1963(a)(1), (a)(2), (a)(3), and (m); Title 18, United States Code, Section 981(a)(1)(C) and Title 28,

 5 United States Code, Section 2461(c); and Title 21, United States Code, Section 853(p):

 6                  1. Twenty-five thousand eight hundred seventy-three dollars and ten cents

 7                      ($25,873.10) in United States Currency; and

 8                  2. Seven thousand dollars ($7,000.00) in United States Currency

 9 (all of which constitutes “property”).

10           As part of the United States' plea agreement with co-defendant Charles Horky, the United

11 States has agreed to compromise, settle and waive its demand for a monetary judgment in the sum of

12 five million two hundred thousand dollars ($5,200,000.00) if Charles Horky pays seven hundred fifty

13 thousand dollars ($750,000.00) in United States Currency in the form of a cashier's check payable to

14 the United States Marshals Service and delivered to the Federal Bureau of Investigation prior to his

15 sentencing hearing. If Charles Horky fails to forfeit, tender and pay these sums prior to his sentencing

16 hearing, he has agreed to criminal forfeiture of an in personam money judgment in the sum of five

17 million two hundred thousand dollars ($5,200,000.00) in United States Currency. In that event,

18 defendant Archie Granata knowingly and voluntarily agrees to the abandonment, the civil

19 administrative forfeiture, the civil judicial forfeiture, or the criminal forfeiture of the following

20 property which shall be applied toward that money judgment:

21                  1. One (1) stainless steel Rolex Oyster Perpetual Date Submariner, black dial and

22                      bezel, 40mm, Movement #31867604, Model #16610 T, Serial Z840628, 134 grams;

23                  2. One (1) 18k yellow gold IWC Schaffhausen chronograph automatic wristwatch

24                      with leather, stamped on back 2684354 INTERNATIONAL WATCH CO., two sub

25                      dials, 41 mm case, 104.6 grams;

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 1                  3. One (1) 18k yellow gold Rolex Oyster Perpetual Superlative Chronometer

 2                      Cosmograph Daytona wristwatch and band, Serial #K258882, Model #116528,

 3                      Band #78498, movement #C 0255271, white dial with three white sub dials having

 4                      gold bezels, 39mm case, 179.3 grams;

 5                  4. One (1) 18k yellow gold Cartier Pasha Chronograph date wristwatch with leather

 6                      band with 18k fold-over hidden clasp, Case #319453MG, presentation back,

 7                      38.4mm case, white dial with three sub dials and date, 108.8 grams;

 8                  5. One (1) stainless steel Girard-Perregaux Ferrari Chronograph wristwatch with

 9                      leather band, stamped on back with Girard-Perregaux, Ferrari, AN 853 Ref 8020,

10                      Manufacture specialement pour FERRARI, black dial with prancing horse, three

11                      black sub dials and a date window, luminous hour markers and hands, 38mm case,

12                      72.8 grams; and

13                  6. Any and all ownership interest that defendant may hold in CLS Nevada, LLC, and

14                      any licenses, certificates or medallions held or used by CLS or any affiliated

15                      persons, agents or entities.

16 (all of which constitutes “property”).

17          Provided that defendant Charles Horky forfeits, tenders and pays $750,000.00 in United States

18 currency in settlement of the forfeiture as set forth above, the United States will not seek forfeiture of

19 substitute assets, including the licenses, certificates or medallions held or used by defendant, CLS, or

20 any affiliated persons, agents or entities, and the United States will not take any position with the

21 Nevada Transportation Authority regarding the sale of such licenses, certificates or medallions. (This

22 provision does not bar the United States from providing information upon lawful request of

23 government agencies, regulatory authorities, pursuant to subpoenas, pursuant to proper Freedom of

24 Information Act requests, etc.)

25          This Court finds the United States of America is now entitled to, and should, reduce the

26 aforementioned property to the possession of the United States of America.

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 1           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

 2 United States of America should seize the aforementioned property.

 3           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

 4 ARCHIE GRANATA in the aforementioned property is forfeited and is vested in the United States of

 5 America and shall be safely held by the United States of America until further order of the Court.

 6           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

 7 shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

 8 website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state the

 9 time under the applicable statute when a petition contesting the forfeiture must be filed, and state the

10 name and contact information for the government attorney to be served with the petition, pursuant to

11 Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

12           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual or entity

13 who claims an interest in the aforementioned property must file a petition for a hearing to adjudicate

14 the validity of the petitioner’s alleged interest in the property, which petition shall be signed by the

15 petitioner under penalty of perjury pursuant to Title 21, United States Code, Section 853(n)(3) and

16 Title 28, United States Code, Section 1746, and shall set forth the nature and extent of the petitioner’s

17 right, title, or interest in the forfeited property and any additional facts supporting the petitioner’s

18 petition and the relief sought.

19           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed

20 with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101, no later than

21 thirty (30) days after the notice is sent or, if direct notice was not sent, no later than sixty (60) days

22 after the first day of the publication on the official internet government forfeiture site,

23 www.forfeiture.gov.

24           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

25 shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

26 following address at the time of filing:

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 1                 Daniel D. Hollingsworth
                   Assistant United States Attorney
 2                 Lloyd D. George United States Courthouse
                   333 Las Vegas Boulevard South, Suite 5000
 3                 Las Vegas, Nevada 89101.
 4          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

 5 need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

 6 following publication of notice of seizure and intent to administratively forfeit the above-described

 7 property.
        Dated: This 15th day of July, 2014.
 8        DATED this ___ day of ____________, 2014.

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11
                                                 UNITED STATES DISTRICT JUDGE
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                                           PROOF OF SERVICE
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 2         I, Heidi L. Skillin, Forfeiture Support Associates Paralegal, certify that the following

 3 individuals were served with copies of the Preliminary Order of Forfeiture on July 9, 2014, by the

 4 below identified method of service:

 5         Electronic Filing
 6         David Z. Chesnoff                                        Marc A. Saggese
           Richard A. Schonfeld                                     732 South Sixth Street, Suite 201
 7         520 South Fourth Street                                  Las Vegas, NV 89101
           Las Vegas, NV 89101                                      marc@maxlawnv.com
 8         dzchesnoff@cslawoffice.net                               Counsel for Clarence Adams
           rschonfeld@cslawoffice.net
 9         Counsel for Charles Horky                                Todd M. Leventhal
                                                                    626 South Third Street
10         Craig W. Drummond                                        Las Vegas, NV 89101
           228 South Fourth Street, First Floor                     todlev@yahoo.com
11         Las Vegas, NV 89101                                      Counsel for James Reda
           craig@drummondfirm.com
12         Counsel for Kimberly Flores                              Angela H. Dows
                                                                    1333 North Buffalo Drive, Suite 210
13         Carter R. King                                           Las Vegas, NV 89128
           524 Holcomb Avenue                                       adows@premierlegalgroup.com
14         Reno, NV 89502                                           Counsel for Mikhail Maleev
           carterkinglaw@gmail.com
15         Counsel for Archie Granata                               Melanie A. Hill
                                                                    9345 West Sunset Road, Suite 100
16         Richard B. Herman                                        Las Vegas, NV 89148
           445 Park Avenue, Tenth Floor                             Melanie@MelanieHillLaw.com
17         New York, NY 10022                                       Counsel for Olive Toli
           rbh@richardbherman.com
18         Counsel for Archie Granata                               Russell M. Aoki
                                                                    720 Olive Way, Suite 1525
19         Gabriel Grasso                                           Seattle, WA 98101
           9525 Hillwood Drive, Suite 190                           russ@aokilaw.com
20         Las Vegas, NV 89134                                      PRO SE
           Gabriel@grassodefense.com
21         Counsel for Dawit Moszagi
22         Jeannie N. Hua
           530 South Eighth Street
23         Las Vegas, NV 89101
           jeanniehua@aol.com
24         Counsel for Solomon Zemedhun
25                                                      /s/ Heidi L. Skillin
                                                       HEIDI L. SKILLIN
26                                                     Forfeiture Support Associates Paralegal

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